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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

 JOHN RAMIREZ AND                                   §
 CHRISTINE RAMIREZ,                                 §
       PLAINTIFFS,                                  §
                                                    §
 v.                                                 §     Civil Action No.
                                                    §
 STATE FARM LLOYDS,                                 §
       DEFENDANT.                                   §



                     DEFENDANT STATE FARM LLOYDS’ NOTICE OF REMOVAL


        PLEASE    TAKE NOTICE   that the Defendant STATE FARM LLOYDS ("State Farm") files this

Notice of Removal of Cause No. C-0204-16-B pursuant to 28 U.S.C. § 1332(a)(1). By doing so,

it removes this action from the 93rd District Court, Hidalgo County, Texas where it is now pending

to the United States District Court for the Southern Division of Texas, McAllen Division.

                                             1. INTRODUCTION

1.1     The Defendant State Farm files this Notice of Removal. Upon filing this Notice of

        Removal, State Farm will provide written notice to plaintiffs, through their counsel of

        record, as required by law. State Farm also will file a copy of this Notice of Removal with

        the Clerk of the District Court, Hidalgo County, Texas.

1.2     The Plaintiffs allege in the suit that State Farm is liable to them for the alleged breach of a

        residential insurance contract along with related claims for breach of the duty of good faith

        and fair dealing and violations of the Texas Insurance Code.




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1.3     This suit was commenced by the Plaintiffs against State Farm by filing the suit in the 93rd

        District Court of Hidalgo County, Texas.

                                        2. JURISDICTION AND VENUE

2.1     Subject Matter Jurisdiction is proper in this court under 28 U.S.C. §1332(a)(1).

        A.       There is complete diversity of citizenship between the Plaintiffs and the Defendant:

                 1.          The Plaintiffs are citizens of the State of Texas.

                 2.          Defendant State Farm Lloyds was at the time this action was commenced,

                             and still is, a citizen of Illinois. State Farm Lloyds is a "Lloyd's Plan"

                             organized under chapter 941 of the Texas Insurance Code. It consists of an

                             unincorporated association of underwriters who were at the time this action

                             was commenced, and still are, all citizens and residents of Illinois, thereby

                             making State Farm Lloyds a citizen of Illinois for diversity purposes. See

                             Royal Ins. Co. of Am. v. Quinn-L Capital Corp., 3 F.3d 877, 882-83 (5th

                             Cir. 1993) (citizenship of unincorporated association determined by

                             citizenship of members).

        B.       The amount in controversy exceeds the sum of $75,000.

2.2     Because subject matter jurisdiction is present under 28 U.S.C. § 1332(a)(1), the case is

        properly removed under 28 U.S.C. § 1441 (a) on the ground that it is a civil action of which

        the Court has diversity jurisdiction.

2.3     Pursuant to 28 U.S.C. § 1441(a), venue is proper for the removal of this case to this federal

        judicial district because it and the McAllen Division embrace the location where the

        removed action was pending before Defendant State Farm filed this Notice of Removal.


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                  3.   PROCEDURAL REMOVAL REQUIREMENTS HAVE BEEN MET

3.1     This case was removed within thirty days of the service on State Farm. State Farm was

        served on January 27, 2016.

3.2     There is a single defendant and consent from no additional parties is required.

                                   4. ATTACHED DOCUMENTS

4.1     Defendant State Farm has attached as Exhibit A to this Notice an Index of Matters Being

        Filed and List of All Counsel with all pleadings, process, orders and other filings in the

        state court action to this Notice of Removal, as required by 28 U.S.C. § 1446(a).

                                        5. JURY DEMAND

5.1     Defendant State Farm has made a jury demand.

                                         6. CONCLUSION

6.1     The Court should sustain this removal because it has removal jurisdiction under 28 U.S.C.

        § 1332(a)(1) and §1441(a), in that the parties are diverse and the amount in controversy

        exceeds $75,000.

                                                     Respectfully submitted,

                                                     Dan K. Worthington

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                                   CERTIFICATE OF SERVICE

       This will certify that a true and correct copy of this document was served on all counsel of
record on the 24th day of February 2016, as indicated below:

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                                                     Dan K. Worthington
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